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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA


   RUMBLE INC. and TRUMP MEDIA
   & TECHNOLOGY GROUP CORP.
                                                     Civil Action No.
   Plaintiffs,                                   8:25-cv-00411-CEH-AAS

     v.

   ALEXANDRE DE MORAES, Justice
   of the Supreme Federal Tribunal of
   the Federative Republic of Brazil

  Defendant.


      DECLARATION OF ANDREW H. SMITH IN SUPPORT OF
       PLAINTIFFS’ EX PARTE MOTION FOR TEMPORARY
  RESTRAINING ORDER AND ORDER TO SHOW CAUSE AS TO WHY
       A PRELIMINARY INJUNCTION SHOULD NOT ISSUE


          The undersigned, Andrew H. Smith, declares the following under

 penalty of perjury pursuant to 28 U.S.C. § 1746:

          1.     I am an attorney duly admitted to practice law in the District of

 Columbia and Alabama.

          2.     I am a partner at Boies Schiller Flexner LLP which represents

 Rumble Inc. (“Plaintiff”) in this matter.

          3.     I make this declaration in support of the Ex Parte Motion for

 Temporary Restraining Order and Order to Show Cause as to Why a

 Preliminary Injunction Should Not Issue filed on behalf of Plaintiff Rumble
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 Inc. (“Rumble”) and Plaintiff Trump Media & Technology Group Corp. (“Trump

 Media”) (together, “Plaintiffs”) against Defendant Alexandre de Moraes

 (“Defendant”), as otherwise indicated, all statements in this Declaration are

 based upon my personal knowledge and experience, or upon my review of

 records maintained by BSF in the regular course of its representation of the

 Plaintiffs. Insofar as they are within my own knowledge, the facts and matters

 set forth herein are, to the best of my own knowledge and belief, true.

       4.    Attached hereto as Exhibit 1 is a true and correct copy of an article

 by Business Standard titled “Brazil's Top Court Justice Orders X to Pay $1.4-

 mn Fine For Non-Compliance” (dated February 20, 2025).

       5.    Attached hereto as Exhibit 2 is a true and correct copy of Part I of

 the House Judiciary Committee report titled “The Attack on Free Speech

 Abroad and The Biden Administration’s Silence: The Case of Brazil” (dated

 April 17, 2024).

       6.    Attached hereto as Exhibit 3 is a true and correct copy of an article

 by The New York Times titled “Supreme Court Justice Helping to Oversee

 Brazil Graft Inquiry Dies in Plane Crash” (dated January 19, 2017).

       7.    Attached hereto as Exhibit 4 is a true and correct copy of an article

 by Reuters titled “Brazil’s Senate Confirms Temer’s Choice for Supreme Court

 Vacancy, Reuters” dated (February 22, 2017).

       8.    Attached hereto as Exhibit 5 is a true and correct copy of an article
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 from Folha De S. Paulo titled “Censored Magazine Says It Was Fined US $26k

 by Supreme Court” (dated April 16, 2019).

       9.    Attached hereto as Exhibit 6 is a true and correct copy of an article

 by The New York Times titled “A Corruption Case That Spilled Across Latin

 America Is Coming Undone” (dated November 24, 2024).

       10.   Attached hereto as Exhibit 7 is a true and correct copy of an article

 from Consultor Juridico titled “The fake news inquiry at the Supreme Court

 and its relationship with the justice system” (dated November 27, 2022) along

 with an unofficial translation.

       11.   Attached hereto as Exhibit 8 is a true and correct copy of an article

 from Gazeta do Povo titled “Censorship by Brazil’s Supreme Court: A Quick

 Guide” (dated May 2, 2024).

       12.   Attached hereto as Exhibit 9 is a true and correct copy of an article

 from Transparency International titled “(April 2019) Supreme Court Decision

 in Brazil Violates Freedom of the Press and Sets Concerning Precedent” (dated

 April 17, 2019).

       13.   Attached hereto as Exhibit 10 is a true and correct copy of an

 article from Oxford Human Rights Hub titled “Brazilian Supreme Court

 Inquiry into ‘Fake News’ Violates Freedom of Speech” (dated May 20, 2019).

       14.   Attached hereto as Exhibit 11 is a true and correct copy of an

 article from Human Rights Here titled “Unveiling Authoritarianism: The ‘Fake
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 News Inquiry’ in Brazil and Its Inquisitional Assault on the Rule of Law”

 (dated January 5, 2024).

       15.      Attached hereto as Exhibit 12 is a true and correct copy of the

 petition by Raquel Dodge former General Prosecutor of Brazil to the STF,

 (dated April 16, 2019) along with an unofficial translation.

       16.      Attached hereto as Exhibit 13 is a true and correct copy of an

 article from Consultor Juridico titled “Independence of Powers Attorney

 Generals Office requests nullification of Supreme Court inquiry investigating

 threats against justices” (dated August 3, 2019) along with an unofficial

 translation.

       17.      Attached hereto as Exhibit 14 is a true and correct copy of an

 article from Jusbrasil titled “The (un)constitutionality of Supreme Court

 Inquiry 4781” along with an unofficial translation.

       18.      Attached hereto as Exhibit 15 is a true and correct copy of Article

 129 of the Federal Constitution of Brazil along with an unofficial translation.

       19.      Attached hereto as Exhibit 16 is a true and correct copy of Article

 2 of the Federal Constitution of Brazil along with an unofficial translation.

       20.      Attached hereto as Exhibit 17 is a true and correct copy of Article

 2 of the Federal Constitution of Brazil along with an unofficial translation.

       21.      Attached hereto as Exhibit 18 is a true and correct copy of Part II

 of the House Judiciary Committee report titled “The Attack on Free Speech
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 Abroad and The Biden Administration’s Silence: The Case of Brazil” (dated

 May 7, 2024).

       22.   Attached hereto as Exhibit 19 is a true and correct copy of the New

 York Times article titled “Elon Musk, Looks to Change Content Moderation”

 (dated October 28, 2022).

       23.   Attached hereto as Exhibit 20 is a true and correct copy of an

 article from Business Insider titled “How Elon Musk and X got into a messy

 situation in one of its biggest markets” (dated September 20, 2014).

       24.   Attached hereto as Exhibit 21 is a true and correct copy of an

 article from The Guardian “Elon Musk’s Starlink backtracks to comply with

 Brazil’s ban on X” (dated September 04, 2024).

       25.   Attached hereto as Exhibit 22 is a true and correct copy of an Order

 issued by Justice Alexandre de Moraes regarding Rumble Inc. along with an

 unofficial translation.

       26.   Attached hereto as Exhibit 23 is a true and correct copy of an Order

 issued by Justice Alexandre de Moraes regarding Rumble Canada Inc. along

 with an unofficial translation.

       27.   Attached hereto as Exhibit 24 is a true and correct copy of an Order

 issued by Justice Alexandre de Moraes regarding Rumble Inc. along with an

 unofficial translation.

       28.   Attached hereto as Exhibit 25 is a true and correct copy of an Order
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 issued by Justice Alexandre de Moraes regarding Rumble Inc. along with an

 unofficial translation.

       29.      Attached hereto as Exhibit 26 is a true and correct copy of an Order

 issued by Justice Alexandre de Moraes regarding Rumble Inc. along with an

 unofficial translation.

       30.      Exhibit 27 is a true and correct copy of an unofficial translation of

 the link identified in the coversheet of Ex. 27 filed under Seal.

       31.      Exhibit 28 is a true and correct copy of an unofficial translation of

 the link identified in the coversheet of Ex. 28 filed under Seal.

       32.      Attached hereto as Exhibit 29 is a true and correct copy of Paulo

 Figueiredo’s testimony at the House Committee on Foreign Affairs hearing on

 Brazil titled, “Brazil: A Crisis of Democracy, Freedom, & Rule of Law?” (dated

 May 7, 2024).

       33.      Attached hereto as Exhibit 30 is a true and correct copy of an

 article from Folha de S. Paulo “US denies extradition of Allan dos Santos for

 crime of opinion and holds tense meeting with Brazil” (dated Mar. 13, 2024)”

 along with an unofficial translation.

       34.      Attached hereto as Exhibit 31 is a true and correct copy of an email

 confirming receipt of the Orders issued by Justice Alexandre de Moraes

 regarding Rumble Inc. and Rumble Canada Inc. along with an unofficial

 translation.
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       35.   Attached hereto as Exhibit 32 is a true and correct copy of the

 Treaty Between the Government of the United States of America and the

 Government of the Federative Republic of Brazil on Mutual Legal Assistance

 in Criminal Matters signed on October 14, 1997, and entered into force on

 February 21, 2001 (Treaty on Mutual Legal Assistance in Criminal Matters,

 U.S.-Braz., Oct. 14, 1997, T.I.A.S. No. 12889).

       36.   Attached hereto as Exhibit 33 is a true and correct copy of the

 Convention on the Service Abroad of Judicial and Extrajudicial Documents in

 Civil or Commercial Matters concluded on November 15, 1965, and entered

 into force on February 10, 1969 (Convention on the Service Abroad of Judicial

 and Extrajudicial Documents in Civil or Commercial Matters, Nov. 15, 1965,

 20 U.S.T. 361, 658 U.N.T.S. 163).

       37.   Attached hereto as Exhibit 34 is a true and correct copy of Vice

 President JD Vance’s remarks at the Munich Security Conference (dated

 February 14, 2025).

       38.   Attached hereto as Exhibit 35 is a true and correct copy of an

 unofficial translation of an Order issued by Justice Alexandre de Moraes

 regarding X Brasil Internet Ltda.

       39.   Attached hereto as Exhibit 36 is a true and correct copy an article

 posted from Interpol along with an unofficial translation.
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  Dated: February 22, 2025             Respectfully submitted,
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                                                       mitted
                                                            d,



                                       BOIES SCHILLER FLEXNER LLP

                                       Andrew H. Smith
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